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12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,               No. CR 20-600-GW
14
               Plaintiff,                    GOVERNMENT’S OPPOSITION TO
15                                           DEFENDANT’S MOTION TO DISMISS
                     v.                      INDICTMENT FOR FAILURE TO ALLEGE
16                                           GROSS NEGLIGENCE
     JERRY NEHL BOYLAN,
17                                           Hearing Date: August 18, 2022
               Defendant.                    Hearing Time: 8:00 a.m.
18                                           Location:     Courtroom of the
                                                           Hon. George H. Wu
19

20

21        Plaintiff United States of America, by and through its counsel
22   of record, the Acting United States Attorney for the Central District
23   of California and Assistant United States Attorneys Mark A. Williams,
24   Joseph O. Johns, and Matthew W. O’Brien, hereby files its Opposition
25   to defendant JERRY NEHL BOYLAN’s Motion to Dismiss Indictment for
26   Failure to Allege Gross Negligence (Dkt. No. 42).
27   //
28   //
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1         This Opposition is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated:   July 21, 2022               Respectfully submitted,

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9                                               /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2         INTRODUCTION

3         This was a preventable tragedy.       But for defendant JERRY NEHL

4    BOYLAN’s (“defendant”) misconduct, negligence, and inattention to his

5    duties – including failing to post the “roving patrol” or night watch

6    required by the Conception’s operating license and federal law, and

7    failing to train his crew to respond to emergencies, as also required

8    by federal law – the Conception’s 33 passengers and youngest

9    crewmember likely would still be alive.
10        The government charged defendant with violating 18 U.S.C.
11   § 1115, a statute that expressly requires only simple negligence (or
12   misconduct, or inattention to duties) for criminal liability.
13   Nonetheless, defendant moves to dismiss the Indictment for failure to
14   allege gross negligence.     Because Section 1115 requires only simple
15   negligence, the Motion relies almost entirely on cases involving the
16   general manslaughter statute (18 U.S.C. § 1112), a different statute
17   prohibiting different conduct.      The precedents requiring gross
18   negligence under Section 1112 are not relevant to a Section 1115

19   prosecution.

20        Every appellate court to have addressed defendant’s argument has

21   rejected it, reasoning that Section 1115 means what it says:           simple

22   negligence is sufficient for a criminal conviction under Section

23   1115.   This Court should follow these precedents and deny the Motion

24   in its entirety.

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1    II.   STATEMENT OF FACTS 1

2          A.     The Conception and Its Crew

3          The Conception was a 79-foot long, wood and fiberglass dive boat

4    with three decks –- an upper deck with a wheelhouse, crew sleeping

5    quarters, and sun deck; a main deck with a galley, salon, bathroom,

6    shower, and open rear sun deck; and a lower deck where the passenger

7    bunkroom was located. 2

8          The Conception’s Certificate of Inspection, which was posted in

9    the boat’s wheelhouse where defendant worked each day and which
10   defendant was required to comply with, stated:
11         A MEMBER OF THE VESSEL’S CREW SHALL BE DESIGNATED BY THE
           MASTER AS A ROVING PATROL AT ALL TIMES, WHETHER OR NOT THE
12         VESSEL IS UNDERWAY, WHEN THE PASSENGER’S BUNKS ARE
           OCCUPIED.
13

14         Although defendant had years of experience as a master (the

15   equivalent of a vessel’s captain), most of the Conception’s crew was

16   inexperienced and untrained with respect to emergency procedures.

17   Crewmember 1 had been employed by Truth Aquatics, the Conception’s

18   owner, since June or July 2019 and had just received his master’s

19   license a few months before that. 3      Crewmember 2 had been employed by

20   Truth Aquatics since November 2018, but only began working

21   consistently aboard the Conception in May 2019 when the peak season

22   began.     He did not hold any licenses, and his prior maritime

23   experience was a part-time “customer oriented” job doing short trips

24

25         1This statement of facts is provided to correct and supplement
     defendant’s “background” statement of facts.
26        2 ATF Origin and Cause Report, bates nos. 62503-62512.

27        3 Interview transcript, bates no. 288900.  In the event the
     Court wishes to examine the complete statements made by each
28   surviving crewmember, transcripts of the recorded interviews can be
     lodged with the Court under seal.
                                        2
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1    aboard a sailboat in Northern California. 4            Crewmember 3 was a chef

2    who was hired by Truth Aquatics three weeks before the Conception

3    fire.       This was his fifth or sixth trip aboard the Conception.        He

4    did not have any other experience working or cooking aboard boats. 5

5    Crewmember 4 had been working aboard the Conception for two years,

6    but had no prior boating experience before that.             Before working for

7    Truth Aquatics, he had lived in Hawaii for 32 years where he worked

8    odd jobs. 6      Deckhand Alexandra Kurtz was newly hired and had only

9    worked as a deckhand aboard the Conception on one prior trip. 7
10           No crewmember had received any fire suppression or firefighting
11   training from defendant.         Although defendant may have pointed out the
12   firehoses and pumps onboard the Conception, he never had crewmembers
13   actually practice activating the fire pumps, unravelling the two fire
14   hoses, or conducting any fire drills. 8            When asked by investigators

15   about fire hoses onboard the Conception after the catastrophic

16   shipboard fire, described below, one crewmember replied, “I don’t

17   think there is a fire hose...I’m not even aware of that, yeah.” 9

18           B.     The Conception’s Final Trip

19           At around 4:00 a.m. on August 30, 2019, the Conception departed

20   Santa Barbara Harbor for a drive trip to the Channel Islands.

21   Defendant, his crew, and 33 passengers were onboard.             The passengers

22   and crew slept while defendant piloted the vessel to the first dive

23   site.        At the dive site, before the first dive of the trip, the crew

24
             4   Interview   transcript,   bates   nos. 92322-92330.
25
             5   Interview   transcript,   bates   nos. 57900-57901.
26           6   Interview   transcript,   bates   nos. 91859-91861.
27           7   Interview   transcript,   bates   no. 92332.
             8   Interview   transcript,   bates   nos. 92373-92374; 289018; 57968.
28
             9   Interview   transcript,   bates   no. 91922-91923.
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1    conducted a “safety briefing” for the passengers.          Defendant

2    announced the briefing over the Conception’s PA speaker system, and

3    the passengers gathered in the galley area to listen. 10

4         For this trip, defendant asked Crewmember 2 to handle the

5    briefing.    (Crewmember 1 had never conducted a safety briefing.) 11

6    Crewmember 2 discussed the bullet points on the safety briefing

7    paper, which focused largely on dive safety.         Although the escape

8    hatch from the passenger bunk area on the lower deck of the boat is

9    not included on the safety briefing paper, Crewmember 2 indicated
10   that he probably told the passengers about it. 12        After his speech

11   concluded, the passengers began diving.

12        The Labor Day weekend dive trip proceeded uneventfully.            After a

13   night dive on September 1, 2019, the passengers ate dinner and

14   defendant moved the Conception from Cueva Valdez to Platt’s Harbor

15   near Santa Cruz Island. 13     The crew and passengers then went to sleep

16   at different times – defendant and Crewmembers 1, 2, 3, and 4

17   upstairs on the upper deck; Ms. Kurtz and the 33 passengers in the

18   lower deck in the bunkroom.         Defendant was heard snoring in his bunk

19   at around 11:45 p.m. that evening. 14

20        Consistent with his usual practice, defendant did not have a

21   night watch or roving patrol that evening. 15        In fact, despite the

22   fact that defendant was aware of a fire in October 2018 aboard the

23

24
          10   Interview   transcript,   bates no. 92337.
25
          11   Interview   transcript,   bates no. 92338.
26        12   Interview   transcript,   bates no. 92339.
27        13   Interview   transcript,   bates no. 288943.
          14   Interview   transcript,   bates no. 92348.
28
          15   Interview   transcript,   bates nos. 91924; 92373; 288942; 57968.
                                              4
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1    Conception’s sister ship, 16 defendant had never provided any training

2    whatsoever on night watches or roving patrols. 17        Most crewmembers had

3    never heard those terms prior to being questioned during the criminal

4    investigation. 18

5         C.      The Fire

6         A fire began on the Conception in the early morning hours of

7    September 2, 2019.      The first person to notice the fire was

8    Crewmember 4.     He indicated that he had gone to sleep around 9:30 or

9    10:30 p.m., but awoke around 1:30 a.m. and went down to clean up the
10   galley. 19   Crewmember 4 had trouble sleeping and would sometimes get

11   up to work at night, so it was not unusual for him to be working in

12   the galley late at night or early in the morning.          He cleaned up and

13   then went to bed at around 2:35 a.m.        No other crewmembers or

14   passengers were awake when he went to bed. 20

15        Crewmember 4 woke up again shortly after he went to bed when he

16   heard what he thought was a chair being moved and someone yell out

17   “uh” or “ow” like they might have sprained their ankle. 21          He waited a

18   few minutes and then got up to see what happened.          When he exited his

19   bunk near the wheelhouse and walked toward the stern, he looked down

20   the stairs from the back of the top deck and saw a fire on the

21

22

23
          16 A former captain of the Vision, the Conception’s sister ship,
24   specifically told defendant about a battery fire aboard the Vision in
     October 2018. Report of interview, bates no. 52998.
25
          17 Interview transcript, bates nos. 57968; 91924; 92370.
26        18 Interview transcript, bates nos. 92370; 91924; 57967.

27        19 Interview transcript, bates no. 91882.

          20 Interview transcript, bates no. 91888.
28
          21 Interview transcript, bates nos. 91889-91990.
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1    starboard side.       He said that the rest of the crew were sleeping, and

2    he yelled “fire!” to wake them up. 22

3         It was a chaotic scene after the crew awoke.          Defendant and

4    Crewmembers 1, 2, 3, and 4 ran around the upper deck, and at some

5    point, defendant told Crewmember 3 to get the fire extinguisher in

6    the wheelhouse.       Crewmember 3 was unable to open the cabinet where

7    the fire extinguisher was located. 23       The crew was in the wheelhouse

8    when defendant yelled “abandon ship” or “everybody out.” 24

9    Crewmembers 2 and 4 jumped down to the main deck, and Crewmember 1
10   lowered himself down to the main deck from the upper deck’s wing
11   station. 25   Crewmember 3 jumped down to the main deck on the port

12   side, breaking his leg as a result of the impact.

13        After he jumped down to the main deck, Crewmember 4 went aft

14   (back) on the main deck to try to get a fire extinguisher from the

15   galley, but he could not enter due to the fire. 26        He then went toward

16   the bow of the Conception. 27       In going back and forth down the port

17   side Crewmember 4 passed the port side fire hose at least twice.               He

18   had never been told and did not know that the fire hose was there,

19   much less how to use it. 28

20        When Crewmember 1 got down to the main deck he opened the port

21   side passenger gate (a break in the railing around the vessel’s deck)

22   to give passengers a way off of the vessel if they were able to get

23

24        22   Interview   transcript,   bates no. 91891-91892.
          23   Interview   transcript,   bates nos. 57941-57943.
25
          24   Interview   transcript,   bates no. 57943.
26        25   Interview   transcript,   bates nos. 92356-92357; 288964.
27        26   Interview   transcript,   bates no. 91892.
          27   Interview   transcript,   bates no. 91900.
28
          28   Interview   transcript,   bates nos. 91923.
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1    out. 29    Crewmembers 1, 2, and 4 also tried to pull open one of the

2    front windows to the galley that was slightly ajar, but they could

3    not open it because the window latch was still attached. 30

4          Defendant stayed in the wheelhouse momentarily and at 3:14 a.m.

5    placed two distress calls to the Coast Guard on Channel 16.

6    Defendant was the first to jump in the water; he did not lower

7    himself onto the main deck, but instead jumped directly from the

8    wheelhouse. 31    There is no evidence that defendant ever attempted to

9    grab the fire ax or fire extinguisher in the wheelhouse or otherwise
10   attempt to fight the fire before abandoning ship.           Nor did defendant
11   use the Conception’s PA system to alert the passengers about the
12   fire.      To the contrary, just as one crewmember was going to call out
13   to defendant for the fire ax (to break one of the front windows to
14   the galley, thus opening a possible escape route near the stairway
15   into the bunk area), defendant jumped out of the wheelhouse directly
16   into the water. 32
17         After seeing defendant abandon ship, Crewmember 1 also jumped

18   into the water. 33      Defendant was then heard yelling for the crew to

19   “jump off,” “get in the water,” and “get away from it.” 34          The

20   remaining crewmembers jumped into the water as well.

21           Crewmembers 3 and 4 swam away from the Conception, and

22   defendant, Crewmember 1, and Crewmember 2 swam toward the

23   Conception’s aft deck and the skiff (small lifeboat) that was

24
           29   Interview   transcript,   bates no.   288966.
25
           30   Interview   transcript,   bates no.   288967-288968.
26         31   Interview   transcript,   bates no.   91902.
27         32   Interview   transcript,   bates no.   92359.
           33   Interview   transcript,   bates no.   288968.
28
           34   Interview   transcript,   bates no.   92359.
                                               7
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1    attached.     Crewmember 1 got on deck and attempted to get into the

2    engine room to activate a fire pump (which, due to a lack of

3    training, he did not realize could have been activated from the port

4    and starboard side fire hose stations on the main deck, given that

5    the vessel’s electrical system was still working and energizing all

6    water pumps). 35      He could not enter the engine room due to the smoke,

7    so he started to lower the small skiff using the electronic winch.

8    Crewmember 2 arrived while the skiff was being lowered, and as

9    defendant was swimming to the skiff he was yelling for the crew to
10   “lower the skiff we need to get away.” 36
11        Crewmembers 1 and 2 lowered the skiff and helped pull defendant

12   onboard. 37   Crewmember 2 cut the bow line that attached the skiff to

13   the Conception, and Crewmember 1 worked on the stern line.

14   Crewmember 2 then went back on the Conception’s aft deck to attempt

15   to rescue people, but defendant told him not to go toward the fire.

16   Crewmember 2 asked how he could get into the bunkroom to help the

17   passengers.    Defendant told him that “we can’t save them.” 38

18        With defendant onboard, Crewmembers 1 and 2 attempted to pilot

19   the skiff away from the Conception but the rope got stuck in the

20   skiff’s propeller.       They had to clear the tangled rope from the

21   propeller each time before motoring away to pick up Crewmembers 3 and

22   4.   Once they were all onboard, they piloted the skiff toward the

23   Grape Escape, a nearby sailboat. 39

24

25
          35   Interview   transcript,   bates no. 288969.
26        36   Interview   transcript,   bates no. 92362.
27        37   Interview   transcript,   bates nos. 288974; 92362.
          38   Interview   transcript,   bates nos. 92363-92364.
28
          39   Interview   transcript,   bates no. 92364.
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1         The crew banged on the Grape Escape’s hull to wake the occupants

2    and eventually got onboard.      The next radio call from defendant to

3    the Coast Guard was from the Grape Escape.         While defendant and

4    Crewmembers 3 and 4 stayed aboard the Grape Escape, Crewmembers 1 and

5    2 took the skiff back toward the Conception to look for survivors.

6    They found none. 40

7         First responders eventually made it to the Conception where they

8    attempted to fight the fire and picked up the crew.          The Conception

9    sank as a result of the fire.       Extensive dive and salvage operations
10   were performed by several agencies in order to recover the
11   Conception, the victims’ remains, and the other materials that had
12   been on the vessel.
13        ARGUMENT

14        A.     The Plain Language Of 18 U.S.C. § 1115 Establishes That
                 Only Proof Of Misconduct, Negligence, Or Inattention To
15               Duties Is Required

16        Section 1115 provides that any captain “by whose misconduct,

17   negligence, or inattention to his duties on [a] vessel the life of

18   any person is destroyed” shall be fined, imprisoned, or both.            18

19   U.S.C. § 1115.    There is no ambiguity.      The plain text of the portion

20   of the statute that defendant is charged with criminalizes simple

21   negligence, misconduct, or inattention to duties that results in the

22   loss of life.

23        The issue raised by defendant’s Motion is one of statutory

24   construction.    The rules of statutory construction are well-

25   established and begin with the actual text of the statute in question

26   “and end there if the statute’s language is plain.”          United States v.

27

28
          40   Interview transcript, bates no. 92365-92367.
                                          9
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1    Lopez, 998 F.3d 431, 435 (9th Cir. 2021) (citing Bostock v. Clayton

2    Cnty., 140 S.Ct. 1731, 1749 (2020)).        “Unless defined in the statute,

3    a statutory term receives its ‘ordinary, contemporary, common

4    meaning.’”    Id. (quoting Perrin v. United States, 444 U.S. 37, 42

5    (1979)).   “A court should seek to ‘give effect to the plain, common-

6    sense meaning of the enactment without resorting to an interpretation

7    that defies common sense.’”      United States v. W.R. Grace, 429

8    F.Supp.2d 1207, 1226 (9th Cir. 2006) (quoting United States v.

9    Weitzenhoff, 35 F.3d 1275, 1283 (9th Cir. 1994)).
10        Section 1115 provides a broad range of conduct – misconduct,

11   negligence, and inattention to duty – as the basis for criminal

12   liability.    If, as a result of inattention, a captain fails to

13   perform one of his duties, and that failure results in loss of life,

14   he is criminally liable.      If a captain commits a negligent act, which

15   results in loss of life, he is also criminally liable under the

16   statute.   Accordingly, given the statute’s low bar for criminal

17   liability, there is no legal basis to raise that bar by requiring

18   gross negligence.

19        Defendant’s suggestion that this Court modify the word

20   “negligence” with the adjective “gross,” by an importation of federal

21   common principles applicable only to the admittedly-ambiguous general

22   manslaughter statute (18 U.S.C. § 1112), results in a situation that

23   defies common sense because “gross” does not apply to inattention to

24   duties or misconduct.     Those terms are associated with ordinary

25   negligence, not the heightened standard of gross negligence.            As

26   described further below, the legislative history of Section 1115

27   shows that Congress meant precisely what it said in 1838 when it

28   enacted the predecessor to the statute.        Congress’ use of the two

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1    “bookend” terms “misconduct” and “inattention to duties” as further

2    descriptions of the mens rea required for conviction indicates that

3    it intended that negligence be given a similar meaning as the

4    surrounding terms.     “Gross inattention to duties” and “gross

5    misconduct” are not required under Section 1115 (and not court has

6    ever found otherwise), so to suggest that this Court modify only one

7    of three terms with the adjective “gross” defies logic.

8         Courts should reject statutory construction arguments “that

9    would render another statutory provision surplusage or a nullity.”
10   Id. (citation omitted).      Both misconduct and inattention to one’s
11   duties are analogous to negligence.         See Yates v. United States, 574

12   U.S. 528 (2015) (“[o]rdinarily, a word's usage accords with its

13   dictionary definition”); see also Robinson v. Shell Oil Co., 519 U.S.

14   337, 341 (1997) (“[t]he plainness or ambiguity of statutory language

15   is determined [not only] by reference to the language itself, [but as

16   well by] the specific context in which that language is used, and the

17   broader context of the statute as a whole”); see also Deal v. United

18   States, 508 U.S. 129, 132 (1993) (it is a “fundamental principle of

19   statutory construction (and, indeed, of language itself) that the

20   meaning of a word cannot be determined in isolation, but must be

21   drawn from the context in which it is used”).

22        Defendant’s request to dismiss the Indictment for failure to

23   allege “gross negligence” not only ignores the plain text of the

24   statute, but it also renders the statute’s additional descriptions of

25   scienter surplusage or a nullity.       Their inclusion in the plain text

26   of the predecessor to Section 1115 in 1838 prove that Congress meant

27   simple negligence when it used the term “negligence” as one of three,

28   similar scienter descriptions in the statute.

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1         B.    The History Of 18 U.S.C. § 1115 Supports The Plain Meaning
                Of Negligence In The Text
2

3         Section 1115 was enacted by Congress as an Act “to provide the

4    better security of the lives of passengers on board of vessels

5    propelled in whole or in part by steam.”         Act of July 7, 1838, 5

6    Stat. 304.    The statute was enacted because horrific accidents were

7    occurring with the expansion of steamboat travel on the nation’s

8    waterways.    United States v. Holmes, 104 F. 884, 995 (C.C. Ohio

9    1900).    The goal of the new law was to prevent these catastrophes by
10   demanding the utmost vigilance from the crew and imposing criminal
11   liability for fatal lapses. 41
12        Less than eight years after the passage of the Act, a federal

13   judge presiding over a grand jury convened in the Eastern District of

14   Louisiana to investigate alleged violations of the statute explained

15   the purpose of the law and the level of culpability required:

16        That statute virtually says to the officers of steamboats
          who assume the solemn responsibility of transporting
17        persons and property from one port to another: You shall
          attend strictly to the duty which you have, for a valuable
18        consideration, assumed to perform. You shall observe
          abundant caution; you shall take all proper care that no
19        disaster occurs which may result in the loss of life.

20
     In re Charge to Grand Jury, 30 F. Cas. 990 (E.D. La. 1846).            The
21
     judge instructed the grand jury that the statute required that the
22
     vessel’s crew members “attend strictly to duty” and that they
23

24

25
          41The other sections of the Act dealt with strict licensure,
26   inspections, strict safety procedures, and equipment requirements,
     among other things. Act of July 7, 1838, 5 Stat. 304, i.e. These
27   served to create public safety standards, and as such logically and
     arguably establish the grounds for misconduct, negligence, and
28   breaches of, or inattention to, duties for violating the new public
     welfare offense.
                                       12
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1    “observe abundant caution” in light of the destruction and harm that

2    can result from a mistake.

3         Defendant has provided no legal support for the assertion that

4    18 U.S.C. § 1115 and its predecessor Act are derived from federal

5    common law principles concerning voluntary and involuntary homicide

6    (manslaughter).    They are not.     In fact, they are early examples of

7    Congress enacting a public welfare statute to express the public’s

8    will to address catastrophes.       As such, common law principles of

9    gross negligence do not apply to Section 1115.
10        C.    Other Circuits Have Determined That Section 1115 Requires
                Ordinary Negligence
11

12        Although this is an issue of first impression for the Ninth
13   Circuit, two Circuit Courts of Appeal have squarely addressed and
14   defined “negligence” in Section 1115.        Those courts found that
15   “negligence” means ordinary negligence.
16        In United States v. O’Keefe, 426 F.3d 274 (5th Cir. 2005),
17   defendant O’Keefe was the captain of a tugboat that was operating on

18   the Mississippi River at the time of an accident which caused the

19   vessel to capsize.     As a result of the accident, O’Keefe’s wife

20   drowned.   The government introduced evidence that his wife was not

21   authorized to be on the tugboat and that O’Keefe was operating the

22   vessel while under the influence of a narcotic.          Id. at 276.    During

23   his trial, O’Keefe requested that the district court instruct the

24   jury that “the Government had to prove gross negligence or heat of

25   passion, 42 as is required for a conviction of common law manslaughter”

26   under Section 1112.     Id. at 277.    The district court disagreed and

27

28        42“Heat of passion” is lifted from 18 U.S.C. § 1112, and thus,
     further underscores the differences between Sections 1112 and 1115.
                                       13
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1    instructed the jury that “[t]he term ‘negligence’ is defined as a

2    breach of duty.    A breach of a duty is defined as an omission to

3    perform some duty, or it is a violation of some rule or standard of

4    care, which is made to govern and control one in the discharge of

5    some duty.”    Id. at 278.

6           On appeal, the Fifth Circuit noted that the district court cited

7    five cases “strongly suggesting that Congress did not intend a

8    requirement of the heightened mens rea that O’Keefe seeks.”            Id. at

9    278.    The court also stated that “when the plain meaning of the
10   statute is clear on its face, courts are required to give effect to
11   the language of the statute according to its term.”          Id. at 279.       In
12   rejecting O’Keefe’s arguments that the mens rea standard from Section

13   1112 should apply to Section 1115, the Fifth Circuit concluded:

14          After evaluating § 1115, we hold that its terms are
            unambiguous and therefore must be given their plain
15          meaning. As such, we find nothing in the statute's terms
            suggesting that the words “misconduct, negligence or
16
            inattention,” were ever meant to imply gross negligence or
17          heat of passion.

18   Id.

19          In 2015, the Fifth Circuit again addressed the mens rea required

20   for a conviction under Section 1115 in an appeal arising from the

21   Deepwater Horizon oil spill in the Gulf of Mexico.          In a statement of

22   dictum unrelated to the direct issues on appeal, the appellate court

23   confirmed its earlier O’Keefe holding by stating:

24          Unlike the common law definition of manslaughter and the
            companion statutory definition for general manslaughter
25          found in Section 1112, Section 1115 only requires the proof
            of any degree of negligence to meet the culpability
26          threshold.

27   United States v. Kaluza, 780 F.3d 647, 657 (5th Cir. 2015).

28

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1         The Eleventh Circuit reached the same conclusion recently in an

2    unpublished opinion.     In United States v. Alvarez, 809 Fed.Appx. 562,

3    564 (11th Cir. 2020), Alvarez was an unlicensed captain of a 91-foot

4    performance yacht that offered performance charters.           An individual

5    was killed on one of the charters, and Alvarez was charged with a

6    violation of Section 1115.      Id. at 564-66.     Alvarez filed a motion to

7    dismiss the indictment, arguing that the statute “unconstitutionally

8    criminalized simple negligence,” among other things.           The district

9    court denied the motion and Alvarez appealed.         Id.
10        On appeal, the Eleventh Circuit noted that “Alvarez argues that

11   the Constitution requires a heightened mens rea beyond negligence to

12   criminalize conduct.     Supreme Court precedent going back nearly a

13   century shows otherwise.”      Id. at 568.    In rejecting Alvarez’s

14   argument, the court emphasized that Congress has “affirmatively,

15   unambiguously, and expressly criminalized the act of negligently

16   causing a person's death while operating a vessel” in Section 1115.

17   Id. at 569.    Thus, the Eleventh Circuit concluded that “this decision

18   to impose a negligence mens rea fell within Congress’s constitutional

19   authority.”    Id.   In a footnote rejecting other statutory

20   construction arguments raised by Alvarez, the court again stated that

21   “[h]ere, as we have explained, Congress spoke plainly and expressly

22   when it included “negligence” in 18 U.S.C. § 1115.          So the court has

23   no basis to read in a default mens rea from the common law here.”

24   Id., n. 3.

25        The Second Circuit also addressed the scienter required to prove

26   a Section 1115 violation, though not specifically on the same basis

27   raised by defendant here.      Van Schaick v. United States, 159 F. 847,

28   850-854 (1908) (predecessor to Section 1115 for master’s misconduct,

                                            15
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1    negligence, and neglect of duty requires them to exercise highest

2    degree of skill and care to safeguard human life and prevent

3    disasters; repeated discussion of misconduct, duty, neglect, and duty

4    of ordinary or reasonable care).

5         Defendant’s Motion cites to a 1988 oral decision of a district

6    judge in United States v. Hilger, No. CR 87-803-JPV, ECF No. 50 (N.D.

7    Cal. March 10, 1988), where a Section 1115 charge was dismissed for

8    failure to allege “gross negligence” rather than negligence.            See

9    Def. Mot. at 10; and see Det. Mot. Ex. A at 3-9).          Based on the
10   limited reasoning contained in the transcript of the motion’s

11   hearing, the government submits that the Hilger ruling was

12   incorrectly decided based on the clear reasoning in O’Keefe and its

13   progeny.

14        Defendant also briefly references another out-of-circuit

15   appellate decision, United States v. Thurston, 362 F.3d 1319, 1321–22

16   (11th Cir. 2004), in support of his motion.        But neither the Eleventh

17   Circuit decision nor the district court’s original order dismissing

18   the indictment for failure to allege gross negligence are helpful

19   here.   Unlike the district court in Hilger, the record is bare as to

20   the reasons for the district court’s sua sponte decision to dismiss

21   the indictment for defects during the defendant’s sentencing hearing.

22   See United States v. Thurston, No. 2:02-cr-121-29, ECF No. 65 (M.D.

23   Fla. June 10, 2003) (order dismissing indictment).          More importantly,

24   the appellate court ruling in Thurston is irrelevant because it deals

25   only with the denial of the defendant’s appeal based on a double

26   jeopardy claim after the government reindicted defendant with a gross

27   negligence allegation.      See Thurston, supra, 1321-22.

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1         D.    Defendant’s Efforts To Distinguish O’Keefe Are Not
                Persuasive
2

3         To counter the highly persuasive authority of the Fifth

4    Circuit’s O’Keefe decision and its progeny, defendant makes three

5    claims: (1) that the five “early cases” interpreting Section 1115

6    referenced by O’Keefe as “strongly” suggesting that the statute

7    criminalizes simple negligence are “equivocal” and not controlling

8    here; (2) that Ninth Circuit precedent regarding scienter in 18

9    U.S.C. § 1112 manslaughter cases, and the Supreme Court’s decisions
10   regarding the background rules of common law, should control; and (3)
11   that the text of Section 1115 does not indicate a lower scienter than
12   the text of Section 1112.      Each of these arguments is incorrect.
13              1.    The “early cases” strongly support a finding that
                      ordinary negligence standards apply to Section 1115
14

15        Regarding defendant’s third claim, the government concedes that

16   the five “early cases” are not controlling on this Court’s

17   interpretation of the text of Section 1115 because they are all out-

18   of-circuit opinions.     But they are persuasive, and the analyses in

19   those decisions are sound.      Given that they were decided soon after

20   the passage of the original Act, they reflect a far better

21   understanding of what Congress intended and meant when it drafted the

22   predecessor to Section 1115.

23        Immediately after dismissing these five cases, defendant is

24   forced to acknowledge that in both Farnham and Collyer the juries

25   were instructed that a violation of the predecessor to Section 1115

26   “can arise from any ‘degree of misconduct, whether it be slight or

27   gross.’”   See Def. Motion at 16; see also United States v. Farnham,

28   25 F. Cas. 1042, 1044 (S.D.N.Y. 1853); United States v. Collyer, 25

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1    F. Cas. 554, 578 (S.D.N.Y. 1855) (quoting Farnham).          In fact, the

2    Farnham decision includes the then-common understanding of Section

3    1115’s mens rea in the following jury instruction passages:

4         The law does not require the public prosecutor to prove
          wilful mismanagement or malconduct by the accused. . .
5
          By misconduct, negligence or inattention in the management
6         of steamboats, mentioned in the statute, is undoubtedly
          meant the omission or commission of any act which may
7         naturally lead to the consequences made criminal; and it is
          no matter what may be the degree of misconduct, whether it
8         be slight or gross, if the proof satisfies you that the
          explosion of the boiler was the necessary or most probable
9         result of it.
10   Farnham, supra, 25 F. Cas. at 1044 (emphases added).
11        Further acknowledging the public welfare offense status of

12   Section 1115, and Congress’ legislative intent to establish the

13   highest degree of vigilance and care upon the owners and masters of

14   passenger vessels, the judge instructed the Farnham jury as follows:

15        You are aware that, as an historical fact, steam had been
          employed for more than thirty years coastways, and in all
16        the interior waters of the country, and that the use of it
          was accompanied by many startling disasters, particularly
17        on the Western waters; and the destruction to property and
          the loss of life so agitated public feeling that congress
18        undertook to enforce regulations in the equipment and
          navigation of vessels propelled by steam, which might tend
19        to the preservation of life and property exposed to that
          mode of transportation. The purpose of congress manifestly
20        was to reach the source from which these evils sprung, and
          establish rules for their prevention.
21
     Id. at 1043.
22
          The decision in Collyer, which cites to Farnham, is replete with
23
     the same charges to the jury defining mens rea as simple misconduct,
24
     negligence, or inattention to duties and nothing more.           See Collyer,
25
     supra, 25 F. Cas. at 577-78.       In fact, the district court in Collyer
26
     even instructed the jury as to the precise type of omission that
27

28

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1    Congress intended to address, and thereby constituted misconduct,

2    negligence, or inattention to duty under the statute:

3         To make myself understood, gentlemen, the law of congress
          makes it necessary, or rather makes it the duty of every
4         captain, at every landing place, to blow off steam. If he
          does not blow off steam, that is misconduct or negligence,
5         or inattention to his duty.

6    Id. at 577.

7         Defendant’s Motion dismisses the “early” decision in United

8    States v. Warner, 28 F.Cas. 404 (D. Ohio 1848) with the terse

9    statement that it “reached the uncontroversial conclusion that
10   [Section 1115] is a rare criminal statute that does not require proof
11   of ‘malicious intent.’”      Def. Motion at 16.     But the Warner district
12   court had far more to say that is relevant to this Court’s analysis

13   some 174 years later, “strongly suggesting that Congress did not

14   intend a requirement of the heightened mens rea” that defendant seeks

15   before this Court.     O’Keefe, supra at 278.      In fact, in charging the

16   jury with his instructions, that court stated as follows:

17        It is declared, in words so plain as to admit of no doubt,
          that any act of ‘misconduct, negligence or inattention,’ on
18        the part of any one concerned in steamboat navigation,
          producing as a result, the loss of life, shall incur the
19        guilt and the penalty of the crime of manslaughter. If it
          had been intended that these consequences should follow, in
20        cases only where there was evidence of a positive,
          malicious intent, the words used would doubtless have been
21        such as to have made that intention clear. And, in that
          case, the offense defined and punished by the statute,
22        would have been the same as manslaughter, as recognized at
          common law, and the statutes of all the states of the
23        Union. But, it is most obvious, from the language of this
          section, that congress intended to go beyond this, and to
24        provide punishment for acts to which the common law did not
          affix guilt or annex a penalty.
25
     Warner, supra, 28 F.Cas. at 407 (emphases added).
26
          Defendant’s Motion claims that the final two early cases, United
27
     States v. Keller, 19 F. 633 (1884) and Van Schaick, “merely”
28

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1    emphasize that intentional misconduct is not an element of the

2    offense and that they “in no way address the degree of negligence

3    required.”    This statement is simply not accurate.        The Keller

4    district court charged the jury:

5         You will observe, under the statute, that it is not
          necessary for you to find that the defendant was guilty of
6         willful or intentional misconduct, negligence, or
          inattention to duty. It is sufficient if you find that he
7         was guilty of a violation of the statute, in the absence of
          any intent; and if you so find, then a verdict of guilty
8         should be returned. . .

9         In this connection it is proper that I should inform you
          what constitutes negligence. It has been well defined to be
10        ‘a breach of duty.‘ I think, however, the better definition
          is that it is an omission to perform some duty, or it is a
11        violation of some rule, which is made to govern and control
          one in the discharge of some duty. Applying this rule of
12        law, if you should find from the evidence that the accused
          omitted to perform any duty, or that there was an absence
13        of proper attention, care, or skill, and the performance of
          his duties as pilot of the Scioto, then you must of
14        necessity find him guilty of negligence; and that if in
          consequence of such negligence the life of any person was
15        lost, then you must find him guilty as charged in the
          indictment.
16

17   Id. at 637.    The Second Circuit Court of Appeal’s decision in Van
18   Schaick echoes the analyses, jury instructions, and holdings of the

19   preceding four, early cases.       It is full of references to ordinary

20   neglect and refers to Captain Van Schaick’s obligation to exercise

21   “at least ordinary care” with regard to statutory safety regulations

22   vis-à-vis the single count of conviction (the predecessor to Section

23   1115) and that he “knew, or should have known” of the dangers

24   presented by “oil, paint, junk, straw and other inflammable material

25   there which might be ignited by the carelessness of passengers or

26   crew or by a spark blown from a passing steamer through the open port

27   holes.”   Van Schaick, supra, 159 F. at 851-52.

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1               2.    Mens rea standards from Section 1112 do not apply to
                      Section 1115
2

3         Next, defendant argues that this Court should define the plain

4    text terms of Section 1115, namely, “misconduct, negligence, or

5    inattention to duties,” by reference to the ambiguous and confusing

6    scienter definitions set forth in a different statute, Section 1112.

7    This argument lacks merit and flies in the face of more than 170

8    years of jurisprudence that is bereft of such reasoning.

9         Section 1115 was revised in 1909 by removing the phrase “shall
10   be deemed guilty of the felony of manslaughter.”          40 Cong. Rec. S1190
11   (Jan. 28, 1908); see also 33 Stat. 1025 (1905).          The rest of the
12   statute remained the same including the requirement of showing only

13   misconduct, negligence and inattention to duties.          Within the same

14   Act 43 that dropped “manslaughter” from Section 1115 but left its

15   scienter unchanged, Congress completely rewrote the general

16   manslaughter statute and dropped its specific intent scienter of

17   “unlawfully and willfully.”      The relevant part of Section 1112’s

18   current iteration defines involuntary homicide or manslaughter as

19   follows:

20        Involuntary - In the commission of an unlawful act not
          amounting to a felony, or in the commission in an unlawful
21        manner, or without due caution and circumspection, of a
          lawful act which might produce death.
22

23

24

25        4318 U.S.C. § 1112 is the direct descendant of Section 274 of
     the Act “to revise, codify, and amend the penal laws of the United
26   States, March 4, 1909.” Chapter 321, 35 Stat. 1143. The 1909 law
     was the culmination of years of drafting and research. See United
27   States v. Alexander, 471 F.2d 923, 944, FN 54 (1972) (description of
     legislative history of text of 18 U.S.C. § 1112). It resulted in the
28   complete rewrite of the general manslaughter statute and a slight
     revision to Section 1115.
                                       21
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1    Given the stark differences in their plain language describing

2    scienter and their legislative histories regarding the drafting of

3    such scienter, defendant incorrectly argues that the text of Section

4    1115 does not prescribe a lower standard of care than Section 1112.

5    Section 1115 does prescribe a lower mens rea threshold for

6    conviction, as it has from the very beginning, exactly as Congress

7    intended it and wrote it.

8         There are other fallacies to defendant’s argument.           The Section

9    1112 general manslaughter statute applies to all persons, regardless
10   of where the offense occurred or whether the offender had any unique
11   responsibility or duty towards the victim of the crime.           By contrast,
12   the relevant portion of Section 1115 applies to a narrowly tailored
13   group of persons -- captains, engineers, pilots, or other persons
14   employed on a steamboat or vessel –- all of whom are in positions
15   that directly impact the health and welfare of passengers in their
16   care.   Section 1115 was enacted by Congress in 1838 as a direct
17   response to a seemingly endless series of catastrophic accidents that
18   occurred with the expansion of steamboat travel and commerce on the

19   nation’s waterways.     See United States v. Holmes, 104 F. 884, 885

20   (C.C. Ohio 1900).     As such, Section 1115 is fairly described as one

21   of the earliest examples of a regulatory or public welfare offense

22   designed to prevent and proscribe an extremely limited class of

23   conduct -– an aim wholly unlike that of the universally applicable,

24   general manslaughter statute.       Section 1115 is not grounded in the

25   principles of federal common law, like Section 1112, which is why a

26   different negligence standard applies.

27        Finally, the Constitution does not mandate some general

28   requirement that a heightened mens rea beyond negligence be alleged

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1    or proven to criminalize conduct.       Alvarez rejects defendant’s

2    argument that the Constitution requires an allegation and proof of

3    “gross negligence” to sustain a conviction under Section 1115.

4    Alvarez, supra, 809 Fed. Appx. at 569.        Defendant Alvarez argued,

5    unsuccessfully, that he was convicted of simple negligence in

6    violation of the Constitution, which he argued required proof of a

7    higher level of mens rea.      Defendant’s efforts to distinguish Alvarez

8    do not hold water.     The constitutional analysis of Section 1115 and

9    the statute’s required mens rea in Alvarez is squarely on point.               Id.
10   at 569.

11        Defendant’s challenges to the Fifth Circuit’s O’Keefe decision

12   on the basis that it is unconstitutional by reference to isolated

13   snippets of language from the Supreme Court cases Morrisette,

14   Staples, Elonis, and Ruan is also misplaced.         Defendant’s citations

15   to Morrisette are misleading and incomplete, and the decisions in

16   Staples, Elonis, and Ruan are inapposite because they deal with the

17   Supreme Court’s efforts to determine what scienter should be implied

18   in particular criminal statutes where Congress did not explicitly

19   make its intent clear in the text of the statutes themselves.            See

20   Staples v. United States, 511 U.S. 600 (1994) (Supreme Court imposes

21   general criminal intent mens rea standard to National Firearms Act

22   statute addressing criminal possession of machine gun where statute

23   was silent as to the standard that Congress intended); see also

24   Elonis v. United States, 575 U.S. 723 (2015) (overruling Third

25   Circuit Court of Appeals’ imposition of negligence mens rea standard

26   into 18 U.S.C. 875(c), where statute itself prescribes no mens rea at

27   all); United States v. Ruan, 142 S.Ct. 2370, 2371 and 2376 (2022) (21

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                                            23
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1    U.S.C. § 841’s “knowingly or intentionally” mens rea applies to the

2    statute's “except as authorized” clause).

3         CONCLUSION

4         For the foregoing reasons, the government respectfully requests

5    that this Court deny the Motion.

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